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                               Exhibit 99



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
           Case 1:01-cv-12257-PBS Document 6528-100 Filed 09/22/09 Page 2 of 4
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                                  Little Rock, A

                                                                               Page 336
                        UNITED STATES DISTRICT COURT

                          DISTRICT OF MASSACHUSETTS

     --------------------------------x

     In re: PHARMACEUTICAL INDUSTRY   )

     AVERAGE WHOLESALE PRICE          )

     LITIGATION                       )

     --------------------------------)

     United States of America ex rel.) MDL No. 1456

     Ven-A-Care of the Florida Keys, )

     Inc. v. Abbott Laboratories,     ) Civil Action

     Inc., Civil Action No. 06-       ) No. 01-12257-PBS

     11337-PBS; and United States of )

     America ex rel. Ven-A-Care of    ) Honorable

     the Florida Keys, Inc., v. Dey, ) Patti B. Saris

     Inc., et al., Civil Action No.   )

     05-11084-PBS; and United States )

     of America ex rel. Ven-A-Care    )

     of the Florida Keys, Inc., v.    )

     Boehringer Ingelheim Corp., et   )

     al., Civil Action No. 07-10248- )

     PBS                              )

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                               Little Rock, A

                                                                             Page 337
  1                                                     December 11, 2008
  2                                                         Volume II
  3            VIDEOTAPED DEPOSITION OF SUZETTE BRIDGES,
  4     produced, sworn, and examined on the 11th day of
  5     December, 2008, between the hours of nine o'clock
  6     in the forenoon and six o'clock in the evening of
  7     that day, at the offices of United States Attorneys'
  8     Office, 425 West Capitol, Suite 500, Metropolitan
  9     Building, Little Rock, Arkansas, before BRENDA
 10     ORSBORN, a Certified Court Reporter within and for
 11     the State of Missouri, in a certain cause now
 12     pending before the United States District Court,
 13     District of Massachusetts, In re: Pharmaceutical
 14     Industry Average Wholesale Price litigation.
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                               Little Rock, A

                                                                             Page 506
  1
        the actual discounts off of AWP are for every
  2
        drug.     So I know again that there are variables.
  3
        So whether it's frequently inflated, I don't know
  4
        the rate of the inflation that there might be on
  5
        AWPs.
  6
               Q.      (By Mr. Berlin) And you testified today
  7
        that you did not use the DOJ AWPs?
  8
               A.      We did not use those prices.                   Those
  9
        were not really considered AWPs, was my
 10
        understanding.
 11
               Q.      And what's that understanding based on?
 12
               A.      I don't recall all of the
 13
        conversations, but to my -- from my memory, those
 14
        were average sales prices -- more reflective of
 15
        average sales prices rather than AWPs.
 16
               Q.      And is that the reason that the State
 17
        chose not to use them?
 18
               A.      Because they were not AWPs, they could
 19
        not be -- as I indicated this morning, those --
 20
        or yesterday.          I can't remember.            My days are
 21
        running together now.              EDS could not put those
 22
        into the AWP field in the system.                     That's not a

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